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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )          8:94CR95
                                              )
                     Plaintiff,               )
                                              )
       vs.                                    )
                                              )          ORDER
MICHAEL J. CRESTONI,                          )
                                              )
                     Defendant.               )

       IT IS ORDERED that:


       (1)    The defendant’s motion to continue (filing 776) is granted.


       (2)    Defendant Crestoni’s revocation hearing is rescheduled to Friday, March 20,
2009, at 12:00 noon, before the undersigned United States district judge, in Courtroom No. 1,
United States Courthouse and Federal Building, 100 Centennial Mall North, Lincoln,
Nebraska. The defendant shall be present unless excused by the court.


       January 21, 2009.                  BY THE COURT:

                                          s/ Richard G. Kopf
                                          United States District Judge
